     Case 24-20906-MBK            Doc 6 Filed 11/01/24 Entered 11/04/24 09:40:08                     Desc OSC
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                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 24−20906−MBK
                                         Chapter: 13
                                         Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Dmitry Belovsky                                          Elena Gorodetsky Belovsky
   48 Pension Road                                          aka Elena Gorodetsky
   Englishtown, NJ 07726                                    48 Pension Road
                                                            Englishtown, NJ 07726
Social Security No.:
   xxx−xx−3065                                              xxx−xx−0520
Employer's Tax I.D. No.:


                       ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE
                  DISMISSED FOR FAILURE TO FILE DOCUMENTS OR EXTEND TIME

    The debtor filed a petition on November 1, 2024 but failed to file the following documents required by Fed. R.
Bankr. P. 1007:

         Summary of Assets/Liabilities and Stat Info, Statement of Financial Affairs For Individuals, Chapter 13
Disclosure of Attorney Compensation (LOCAL FORM), Statement of Your Current Monthly Income & Calc of
Commitment Period(122C−1), Calculation of Your Disposable Income (122C−2) − If Applicable, Ch. 13 Plan and
Motions (LOCAL FORM), Schedules A/B,C,D,E/F,G,H,I,J,

     It is hereby ORDERED that:

     The debtor or debtor's attorney must appear at a hearing before the Honorable Michael B. Kaplan on:

     Date: December 2, 2024
     Time: 10:00 AM
     Location: Courtroom 8, Clarkson S. Fisher, U.S. Courthouse, 402 E. State St., Trenton, NJ 08608−1507


     to show cause why the case should not be dismissed.

     If all required documents are filed with the Clerk before the hearing date, this Order to Show Cause will be
vacated and no appearance is required.

     Any motion or other objection that is filed will be considered a Motion for Extension of Time to File Schedules,
Statements, and Other Documents under Fed. R. Bankr. P. 1007(c), and will be scheduled by the court to be heard on
the same date and time as this Order to Show Cause.

      Unless all required documents are filed before the hearing date on this Order to Show Cause, you must appear
at the hearing. FAILURE TO APPEAR AT THE HEARING WILL RESULT IN DISMISSAL OF THE CASE.

IMPORTANT: Any document filed must be the most recent version of the applicable Official or Local Form.
Please check www.njb.uscourts.gov to find updated forms.
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Dated: November 4, 2024
JAN: wdr

                                        Michael B. Kaplan
                                        United States Bankruptcy Judge
